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Fill in this information to identify the case:

Debtor Name Anson   Financial, Inc.
            __________________________________________________________________


United States Bankruptcy Court for the: Northern Districtofof________
                                        _______ District      Texas

                                                                                                                     q Check if this is an
Case number: 21-41517-11
              _________________________
                                                                                                                        amended filing




Official Form 425C

Monthly Operating Report for Small Business Under Chapter 11                                                                             12/17

Month:               Jan 2022
                     ___________                                                                Date report filed:    02/16/2022
                                                                                                                      ___________
                                                                                                                      MM / DD / YYYY

                  Management Real Estate
Line of business: ________________________                                                      NAISC code:           6531
                                                                                                                      ___________

In accordance with title 28, section 1746, of the United States Code, I declare under penalty of perjury
that I have examined the following small business monthly operating report and the accompanying
attachments and, to the best of my knowledge, these documents are true, correct, and complete.

Responsible party:                           J. Michael Ferguson
                                             ____________________________________________

Original signature of responsible party      /s/ J. Michael Ferguson
                                             ____________________________________________

Printed name of responsible party            J. Michael Ferguson
                                             ____________________________________________


              1. Questionnaire
    Answer all questions on behalf of the debtor for the period covered by this report, unless otherwise indicated.
                                                                                                                           Yes     No        N/A
          If you answer No to any of the questions in lines 1-9, attach an explanation and label it Exhibit A.

    1.   Did the business operate during the entire reporting period?                                                      q       q         q
    2.   Do you plan to continue to operate the business next month?                                                       q       q         q
    3.   Have you paid all of your bills on time?                                                                          q       q         q
    4.   Did you pay your employees on time?                                                                               q       q         q
    5.   Have you deposited all the receipts for your business into debtor in possession (DIP) accounts?                   q       q         q
    6.   Have you timely filed your tax returns and paid all of your taxes?                                                q       q         q
    7.   Have you timely filed all other required government filings?                                                      q       q         q
    8.   Are you current on your quarterly fee payments to the U.S. Trustee or Bankruptcy Administrator?                   q       q         q
    9.   Have you timely paid all of your insurance premiums?                                                              q       q         q
          If you answer Yes to any of the questions in lines 10-18, attach an explanation and label it Exhibit B.
    10. Do you have any bank accounts open other than the DIP accounts?                                                    q       q         q
    11. Have you sold any assets other than inventory?                                                                     q       q         q
    12. Have you sold or transferred any assets or provided services to anyone related to the DIP in any way?              q       q         q
    13. Did any insurance company cancel your policy?                                                                      q       q         q
    14. Did you have any unusual or significant unanticipated expenses?                                                    q       q         q
    15. Have you borrowed money from anyone or has anyone made any payments on your behalf?                                q       q         q
    16. Has anyone made an investment in your business?                                                                    q       q         q
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Debtor Name   Anson  Financial, Inc.
              _______________________________________________________                              21-41517-11
                                                                                       Case number_____________________________________




    17. Have you paid any bills you owed before you filed bankruptcy?                                                        q       q      q
    18. Have you allowed any checks to clear the bank that were issued before you filed bankruptcy?                          q       q      q


              2. Summary of Cash Activity for All Accounts

    19. Total opening balance of all accounts
                                                                                                                                   38,740.44
                                                                                                                                $ __________
         This amount must equal what you reported as the cash on hand at the end of the month in the previous
         month. If this is your first report, report the total cash on hand as of the date of the filing of this case.

    20. Total cash receipts
         Attach a listing of all cash received for the month and label it Exhibit C. Include all
         cash received even if you have not deposited it at the bank, collections on
         receivables, credit card deposits, cash received from other parties, or loans, gifts, or
         payments made by other parties on your behalf. Do not attach bank statements in
         lieu of Exhibit C.
         Report the total from Exhibit C here.
                                                                                                           52,409.37
                                                                                                       $ __________

    21. Total cash disbursements
         Attach a listing of all payments you made in the month and label it Exhibit D. List the
         date paid, payee, purpose, and amount. Include all cash payments, debit card
         transactions, checks issued even if they have not cleared the bank, outstanding
         checks issued before the bankruptcy was filed that were allowed to clear this month,
         and payments made by other parties on your behalf. Do not attach bank statements
         in lieu of Exhibit D.
                                                                                                      - $ __________
                                                                                                           (29,520.98)
         Report the total from Exhibit D here.

    22. Net cash flow
                                                                                                                            +      22,888.39
                                                                                                                                $ __________
         Subtract line 21 from line 20 and report the result here.
         This amount may be different from what you may have calculated as net profit.

    23. Cash on hand at the end of the month
         Add line 22 + line 19. Report the result here.
                                                                                                                                   61,628.83
         Report this figure as the cash on hand at the beginning of the month on your next operating report.                =   $ __________

         This amount may not match your bank account balance because you may have outstanding checks that
         have not cleared the bank or deposits in transit.



              3. Unpaid Bills
        Attach a list of all debts (including taxes) which you have incurred since the date you filed bankruptcy but
        have not paid. Label it Exhibit E. Include the date the debt was incurred, who is owed the money, the
        purpose of the debt, and when the debt is due. Report the total from Exhibit E here.

    24. Total payables                                                                                                             45,500.00
                                                                                                                                $ ____________

               (Exhibit E)




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Debtor Name   Anson  Financial, Inc.
              _______________________________________________________                               21-41517-11
                                                                                         Case number_____________________________________




              4. Money Owed to You
        Attach a list of all amounts owed to you by your customers for work you have done or merchandise you
        have sold. Include amounts owed to you both before, and after you filed bankruptcy. Label it Exhibit F.
        Identify who owes you money, how much is owed, and when payment is due. Report the total from
        Exhibit F here.
    25. Total receivables                                                                                                        3,490,188.46
                                                                                                                               $ ____________

                (Exhibit F)



              5. Employees
                                                                                                                                            4
                                                                                                                                 ____________
    26. What was the number of employees when the case was filed?
    27. What is the number of employees as of the date of this monthly report?
                                                                                                                                            3
                                                                                                                                 ____________




              6. Professional Fees
    28. How much have you paid this month in professional fees related to this bankruptcy case?
                                                                                                                                   25,000.00
                                                                                                                               $ ____________

    29. How much have you paid in professional fees related to this bankruptcy case since the case was filed?
                                                                                                                                   60,866.39
                                                                                                                               $ ____________

    30. How much have you paid this month in other professional fees?                                                                    0.00
                                                                                                                               $ ____________

    31. How much have you paid in total other professional fees since filing the case?                                                   0.00
                                                                                                                               $ ____________




              7. Projections

        Compare your actual cash receipts and disbursements to what you projected in the previous month.
        Projected figures in the first month should match those provided at the initial debtor interview, if any.

                                        Column A                     Column B                      Column C
                                        Projected                –   Actual                    =   Difference

                                        Copy lines 35-37 from        Copy lines 20-22 of           Subtract Column B
                                        the previous month’s         this report.                  from Column A.
                                        report.
                                           52,309.37
                                        $ ____________           –       52,409.37
                                                                     $ ____________
                                                                                               =         -100.00
                                                                                                   $ ____________
    32. Cash receipts
                                        $ (29,261.23)                  (29,520.98)             =          259.75
    33. Cash disbursements                ____________           –   $ ____________                $ ____________

                                           23,048.14             –       22,888.39             =       -3,425.04
    34. Net cash flow                   $ ____________               $ ____________                $ ____________


    35. Total projected cash receipts for the next month:                                                                           40,000.00
                                                                                                                                $ ____________

    36. Total projected cash disbursements for the next month:                                                                - $ ____________
                                                                                                                                  (30,000.00)

    37. Total projected net cash flow for the next month:
                                                                                                                              = $ ____________
                                                                                                                                    10,000.00




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Debtor Name   Anson  Financial, Inc.
              _______________________________________________________                             21-41517-11
                                                                                       Case number_____________________________________




              8. Additional Information
    If available, check the box to the left and attach copies of the following documents.

    q    38. Bank statements for each open account (redact all but the last 4 digits of account numbers).


    q    39. Bank reconciliation reports for each account.


    q    40. Financial reports such as an income statement (profit & loss) and/or balance sheet.


    q    41. Budget, projection, or forecast reports.


    q    42. Project, job costing, or work-in-progress reports.




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                                                                  Exhibit C

     Type      Date        Num            Name                    Memo            Account       Clr              Split             Debit       Credit
Deposit       01/05/2022                                Deposit                Chase DIP 2251        AFI Management Receivable    10,000.00
Deposit       01/06/2022                                Deposit                Chase DIP 2251        AFI Management Receivable    21,613.53
Deposit       01/21/2022                                Deposit                Chase DIP 2251        AFI Management Receivable    10,000.00
Deposit       01/29/2022                                Deposit                Chase DIP 2251        AFI Management Receivable    10,695.84
Total                                                                                                                              52,309.37       0.00


Deposit      1/20/2022 ACH       AFI Management Group   Deposit                Chase 6035             AFI Management Rec               100
                                                                                                                                                        0

Total Pmts                                                                                                                        52409.37              0




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                                                                           Exhibit D

      Type     Date       Num                  Name                        Memo            Account       Clr               Split         Debit       Credit
Check         01/03/2022 aCH    Jentex Financial, Inc.            Pmt# 5                Chase DIP 2251        -SPLIT-                                 737.56
Check         01/03/2022 ACH    Jentex Financial, Inc.            Pmt# 5                Chase DIP 2251        -SPLIT-                                 623.69
Check         01/03/2022 ACH    Jentex Financial, Inc.            Pmt# 5                Chase DIP 2251        -SPLIT-                                 415.93
Check         01/03/2022 ACH    Jentex Financial, Inc.            Pmt# 5                Chase DIP 2251        -SPLIT-                                 448.96
Check         01/04/2022 aCH    Jentex Financial, Inc.            Pmt# 5                Chase DIP 2251        -SPLIT-                                 354.57
Check         01/04/2022 ACH    Jentex Financial, Inc.            Pmt# 5                Chase DIP 2251        -SPLIT-                                 503.73
Check         01/05/2022 ACH    Jentex Financial, Inc.            Pmt# 5                Chase DIP 2251        -SPLIT-                                 504.42
Check         01/06/2022 ACH    Jentex Financial, Inc.            Pmt# 5                Chase DIP 2251        -SPLIT-                                 473.45
Check         01/06/2022 aCH    Jentex Financial, Inc.            Pmt# 5                Chase DIP 2251        -SPLIT-                                 419.73
Check         01/06/2022 ACH    Jentex Financial, Inc.            Pmt# 5                Chase DIP 2251        -SPLIT-                                 489.57
Check         01/06/2022 ACH    Godbey, Arvella                   Pmt# 5                Chase DIP 2251        -SPLIT-                                 776.03
Check         01/06/2022 ACH    Jentex Financial, Inc.            Pmt# 5                Chase DIP 2251        -SPLIT-                                1,208.16
Check         01/06/2022 ACH    Jentex Financial, Inc.            Pmt# 5                Chase DIP 2251        -SPLIT-                                 815.59
Check         01/07/2022 ACH    Jentex Financial, Inc.            Pmt# 5                Chase DIP 2251        -SPLIT-                                1,171.50
Check         01/10/2022 ACH    Heritage Credit, LLC              Pmt# 1                Chase DIP 2251        Heritage Credit, LLC                   1,913.81
Check         01/10/2022 ACH    Heritage Credit, LLC              Pmt# 1                Chase DIP 2251        Heritage Credit, LLC                   1,243.82
Check         01/11/2022 aCH    Jentex Financial, Inc.            Pmt# 5                Chase DIP 2251        -SPLIT-                                 397.90
Check         01/12/2022 ACH    Heritage Credit, LLC              Pmt# 1                Chase DIP 2251        Heritage Credit, LLC                   1,796.97
Check         01/12/2022 aCH    Heritage Credit, LLC              Pmt# 1                Chase DIP 2251        Heritage Credit, LLC                   1,841.21
Check         01/12/2022 ACH    Jentex Financial, Inc.            Pmt# 5                Chase DIP 2251        -SPLIT-                                 513.28
Check         01/13/2022 aCH    Jentex Financial, Inc.            Pmt# 5                Chase DIP 2251        -SPLIT-                                1,156.82
Check         01/13/2022 aCH    Jentex Financial, Inc.            Pmt# 4                Chase DIP 2251        -SPLIT-                                1,145.30
Check         01/13/2022 ACH    Jentex Financial, Inc.            Pmt# 5                Chase DIP 2251        -SPLIT-                                 968.21
Check         01/13/2022 ACH    Jentex Financial, Inc.            Pmt# 5                Chase DIP 2251        -SPLIT-                                 478.19
Check         01/13/2022 aCH    Jentex Financial, Inc.            Pmt# 5                Chase DIP 2251        -SPLIT-                                 339.37
Check         01/13/2022 aCH    Anson Financial, Inc.             Pmt# 5                Chase DIP 2251        -SPLIT-                                 250.00
Check         01/14/2022 aCH    Jentex Financial, Inc.            Pmt# 5                Chase DIP 2251        -SPLIT-                                 582.90
Check         01/21/2022 ACH    Jentex Financial, Inc.            Pmt# 5                Chase DIP 2251        -SPLIT-                                 337.74
Check         01/26/2022 ACH    Jentex Financial, Inc.            Pmt# 5                Chase DIP 2251        -SPLIT-                                 643.37
Check         01/27/2022 ACH    Jentex Financial, Inc.            Pmt# 5                Chase DIP 2251        -SPLIT-                                 559.45
Check         01/31/2022 ACH    York Family Limited Partnership   Pmt# 5                Chase DIP 2251        York Family Partnership                5,000.00
Check         01/31/2022 ACH    Carol Godbey                      Pmt# 6                Chase DIP 2251        -SPLIT-                                 150.00
Check         01/31/2022 ACH    Leroy York                        Pmt# 5                Chase DIP 2251        -SPLIT-                                1,000.00
Total                                                                                                                                        0.00    29,261.23


ACH          1/12/2022 ACH      IRS                                                     Chase 6035                                                    194.72
ACH          1/20/2022 ACH      IRS                                                     Chase 6035                                                     65.03

Total Pmts                                                                                                                                          29520.98




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9:51 AM                                  Anson Financial, Inc. dba AFI Mortgage
02/16/22                                             A/P Aging Summary
                                                      As of January 31, 2022

                                                       Current    1 - 30     31 - 60     61 - 90      > 90       TOTAL
             AFI Management Group                          0.00       0.00        0.00       0.00      500.00       500.00
             Holder Law                                    0.00       0.00   20,000.00       0.00        0.00    20,000.00
             Weycer, Kaplan, Pulaski & Zuber, P.C.         0.00       0.00        0.00       0.00   25,000.00    25,000.00

           TOTAL                                           0.00       0.00   20,000.00       0.00   25,500.00    45,500.00




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                                    Exhibit F



 Receivables Report for period ending                             1/31/2022

 Mtg Receivable Balances                                    $3,325,623.62
 Accrued Interest                                            $103,128.93
 AFI Management Receivable                                     $61,435.91

 Total Receivables                                          $3,490,188.46




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  Payment     Beginning                                      Earned                        Payable to Anson                                                     Unearned
                               Principal       Interest                     Service Fee                       Loans Added      Ending Balance   Ending Basis
    Date       Balance                                       Discount                       Financial, Inc.                                                     Discount
12/31/2018   Ending Balance                                                                     $0.00                           $5,239,730.47   $5,053,673.36   $186,057.11
1/31/2019     $5,239,730.47       $28,115.47    $31,501.35        $886.47      $4,830.00         $55,673.29           $0.00     $5,210,728.53   $5,025,557.89   $185,170.64
2/28/2019     $5,210,728.53    $56,379.64     $39,409.01      $934.63          $4,760.00         $91,963.28      $0.00          $5,153,414.26   $4,965,221.10   $188,193.16
3/31/2019     $5,153,414.26       $21,378.47    $36,111.85        $761.37      $4,795.00         $53,456.69     $161,652.47     $5,292,926.89   $5,097,042.44   $195,884.45
4/30/2019     $5,292,926.89   $180,612.29     $49,784.30     $1,059.92         $4,830.00        $226,626.51    $30,000.00       $5,141,254.68   $4,924,047.83   $217,206.85
5/31/2019     $5,141,254.68       $51,992.05    $41,277.21      $3,882.02      $4,865.00         $92,286.28     $190,000.00     $5,275,380.61   $5,062,055.78   $213,324.83
6/30/2019     $5,275,380.61    $12,369.40     $33,706.61      $727.36          $4,900.00         $41,903.37   $258,329.68       $5,520,613.53   $5,308,016.06   $212,597.47
7/31/2019     $5,520,613.53      $209,634.05    $36,205.71        $982.03      $4,830.00        $241,991.79     $129,900.00     $5,439,897.45   $5,215,525.15   $224,372.30
8/31/2019     $5,439,897.45    $45,094.77     $48,520.38     $1,101.65         $4,795.00         $89,921.80   $116,000.00       $5,509,701.03   $5,281,525.18   $228,175.85
9/30/2019     $5,509,701.03     $118,896.02    $40,705.52        $794.45      $4,830.00         $155,565.99            $0.00    $5,390,010.56   $5,162,629.16   $227,381.40
10/31/2019    $5,390,010.56      $41,754.23    $35,564.43      $1,135.83      $4,795.00         $73,659.49      $136,870.67     $5,483,991.17   $5,257,745.60   $226,245.57
11/30/2019    $5,483,991.17      $33,260.44    $38,459.88      $4,492.90      $4,795.00         $71,418.22       $30,622.46     $5,476,860.29   $5,265,741.24   $211,119.05
12/31/2019    $5,476,860.29     $112,822.51    $47,356.25     $56,267.81      $4,690.00        $211,756.57      $111,133.06     $5,418,903.03   $5,245,670.01   $173,233.02
1/31/2020     $5,418,903.03     $602,802.12    $41,815.34      $1,006.66      $4,655.00        $640,969.12       $63,428.64     $4,878,522.89   $4,706,296.53   $172,226.36
2/29/2020     $4,878,522.89      $22,857.50    $32,283.77      $1,100.69      $4,655.00         $51,586.96       $40,000.00     $4,894,564.70   $4,723,439.03   $171,125.67
3/31/2020     $4,894,564.70     $129,228.69    $53,190.80      $3,521.84      $4,410.00        $181,531.33      $112,706.60     $4,874,520.77   $4,655,456.21   $219,064.56
4/30/2020     $4,874,520.77      $37,862.56    $39,301.56      $2,364.55      $4,375.00         $75,153.67      $145,000.00     $4,979,293.66   $4,758,636.50   $220,657.16
5/31/2020     $4,979,293.66      $84,427.31    $38,977.43      $1,068.76      $4,340.00        $120,133.50             $0.00    $4,893,797.59   $4,674,209.19   $219,588.40
6/30/2020     $4,893,797.59      $99,716.56    $36,634.14        $968.96      $4,270.00        $133,049.66             $0.00    $4,793,112.07   $4,574,492.63   $218,619.44
7/31/2020     $4,793,112.07      $34,787.39    $38,426.22      $1,037.89      $4,165.00         $70,086.50             $0.00    $4,757,286.79   $4,539,705.24   $217,581.55
8/31/2020     $4,757,286.79        $7,703.82   $40,241.63     $21,915.95      $4,060.00         $65,801.40             $0.00    $4,727,667.02   $4,532,001.42   $195,665.60
9/30/2020     $4,727,667.02      $65,523.22    $35,927.21        $909.62      $3,920.00         $98,440.05             $0.00    $4,661,234.18   $4,466,478.20   $194,755.98
10/31/2020    $4,661,234.18      $24,773.57    $30,058.02        $901.57      $4,025.00         $51,708.16         $5,000.00    $4,640,559.04   $4,450,661.78   $189,897.26
11/30/2020    $4,640,559.04      $55,191.37    $46,105.60        $860.17      $3,955.00         $98,202.14       $42,000.00     $4,626,507.50   $4,433,513.26   $192,994.24
12/31/2020    $4,626,507.50           $29.20   $34,029.13        $857.33      $3,885.00         $31,030.66             $0.00    $4,625,620.97   $4,433,484.06   $192,136.91
1/31/2021     $4,625,620.97     $454,697.25    $45,695.84     $18,139.04      $3,710.00        $514,822.13       $56,210.80     $4,208,995.48   $4,034,997.61   $173,997.87
2/28/2021     $4,208,995.48      $42,349.33    $26,146.73        $724.12      $3,675.00         $65,545.18      $221,737.40     $4,387,659.43   $4,214,385.68   $173,273.75
3/31/2021     $4,387,659.43     $121,947.69    $55,728.09      $2,973.63      $3,465.00        $177,184.41         $5,459.51    $4,268,197.62   $4,101,540.20   $166,657.42
4/30/2021     $4,268,197.62      $29,623.38    $38,621.42      $1,780.94      $3,465.00         $66,560.74         $5,072.21    $4,241,865.51   $4,073,031.88   $168,833.63
5/31/2021     $4,241,865.51       ($9,122.82)  $33,507.48        $626.34      $3,430.00         $21,581.00         $1,371.84    $4,251,733.83   $4,083,526.54   $168,207.29
6/30/2021     $4,251,733.83     $313,879.13    $39,420.02      $2,203.06      $3,395.00        $352,107.21       $17,116.29     $3,952,767.93   $3,785,587.02   $167,180.91
7/31/2021     $3,952,767.93     $107,866.10    $37,304.51        $781.01      $3,360.00        $142,591.62             $0.00    $3,844,120.82   $3,677,690.61   $166,430.21
8/31/2021     $3,844,120.82      $19,316.49    $34,300.57        $552.79      $3,255.00         $50,914.85        -$1,371.84    $3,822,879.70   $3,657,002.28   $165,877.42
9/30/2021     $3,822,879.70     $304,962.82    $45,241.16        $756.47      $3,115.00        $347,845.45             $0.00    $3,517,160.41   $3,352,039.46   $165,120.95
10/31/2021    $3,517,160.41      $25,971.57    $33,456.14        $695.99      $3,115.00         $57,008.70                      $3,490,492.85   $3,326,067.89   $164,424.96
11/30/2021    $3,490,492.85      $20,706.22    $33,331.89        $760.42      $3,115.00         $51,683.53             $0.00    $3,469,026.21   $3,305,361.67   $163,664.54
12/31/2021    $3,469,026.21      $85,650.76    $30,498.80        $806.62      $2,940.00       $114,016.18              $0.00    $3,382,568.83   $3,219,754.90   $162,813.93
1/31/2022     $3,382,568.83      $12,754.63    $22,189.80        $445.30      $2,940.00         $32,449.73             $0.00    $3,369,368.90   $3,219,754.90   $149,614.00
Total                         $3,607,815.20 $1,421,035.80    $140,786.16    $151,410.00      $5,018,227.16     $1,878,239.79




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                                                                                         January 01, 2022 through January 31, 2022
                                    JPMorgan Chase Bank, N.A.
                                    P O Box 182051                                      Account Number:
                                    Columbus, OH 43218 - 2051




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* start*post summary message1




* end*post summa ry messa ge1




* start*de posits an d additio ns




* end*dep osits and additions



  *start*electronic w ithdrawa l




  *end*elect ronic wi thdrawal




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                                                                                               January 01, 2022 through January 31, 2022
                                                                                               Account Number:


    *start*electron ic withdrawal




    *end*electronic withdrawal


* start*daily ending balance2




* end*daily ending balance2




* start*ser vice cha rge summary2




* start*ser vice cha rge summary2 pa rt1




* end*servi ce charge summ ary2




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                                                                                                                      January 01, 2022 through January 31, 2022
                                                                                                                      Account Number:


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                    IN CASE OF ERRORS OR QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS: Call us at 1-866-564-2262 or write us at the
                    address on the front of this statement (non-personal accounts contact Customer Service) immediately if you think your statement or receipt is
                    incorrect or if you need more information about a transfer listed on the statement or receipt.
                    For personal accounts only: We must hear from you no later than 60 days after we sent you the FIRST statement on which the problem or error
                    appeared. Be prepared to give us the following information:
                                    Your name and account number
                                    The dollar amount of the suspected error
                                    A description of the error or transfer you are unsure of, why you believe it is an error, or why you need more information.
                    We will investigate your complaint and will correct any error promptly. If we take more than 10 business days (or 20 business days for new
                    accounts) to do this, we will credit your account for the amount you think is in error so that you will have use of the money during the time it takes
                    us to complete our investigation .
                    IN CASE OF ERRORS OR QUESTIONS ABOUT NON-ELECTRONIC TRANSACTIONS: Contact the bank immediately if your statement is
                    incorrect or if you need more information about any non-electronic transactions (checks or deposits) on this statement. If any such error appears,
                    you must notify the bank in writing no later than 30 days after the statement was made available to you. For more complete details, see the
                    Account Rules and Regulations or other applicable account agreement that governs your account. Deposit products and services are offered by
                    JPMorgan Chase Bank, N.A. Member FDIC

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                                                    Account Number:




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3:49 PM                                        Anson Financial, Inc. dba AFI Mortgage
02/07/22                                                 Reconciliation Detail
                                                   Chase DIP 2251, Period Ending 01/31/2022

                     Type               Date           Num            Name              Clr   Amount            Balance
           Beginning Balance                                                                                        5,036.10
                Cleared Transactions
                   Checks and Payments - 33 items
           Check               01/03/2022      aCH            Jentex Financial, Inc.    X          -737.56            -737.56
           Check               01/03/2022      ACH            Jentex Financial, Inc.    X          -623.69          -1,361.25
           Check               01/03/2022      ACH            Jentex Financial, Inc.    X          -448.96          -1,810.21
           Check               01/03/2022      ACH            Jentex Financial, Inc.    X          -415.93          -2,226.14
           Check               01/04/2022      ACH            Jentex Financial, Inc.    X          -503.73          -2,729.87
           Check               01/04/2022      aCH            Jentex Financial, Inc.    X          -354.57          -3,084.44
           Check               01/05/2022      ACH            Jentex Financial, Inc.    X          -504.42          -3,588.86
           Check               01/06/2022      ACH            Jentex Financial, Inc.    X        -1,208.16          -4,797.02
           Check               01/06/2022      ACH            Jentex Financial, Inc.    X          -815.59          -5,612.61
           Check               01/06/2022      ACH            Godbey, Arvella           X          -776.03          -6,388.64
           Check               01/06/2022      ACH            Jentex Financial, Inc.    X          -489.57          -6,878.21
           Check               01/06/2022      ACH            Jentex Financial, Inc.    X          -473.45          -7,351.66
           Check               01/06/2022      aCH            Jentex Financial, Inc.    X          -419.73          -7,771.39
           Check               01/07/2022      ACH            Jentex Financial, Inc.    X        -1,171.50          -8,942.89
           Check               01/10/2022      ACH            Heritage Credit, LLC      X        -1,913.81         -10,856.70
           Check               01/10/2022      ACH            Heritage Credit, LLC      X        -1,243.82         -12,100.52
           Check               01/11/2022      aCH            Jentex Financial, Inc.    X          -397.90         -12,498.42
           Check               01/12/2022      aCH            Heritage Credit, LLC      X        -1,841.21         -14,339.63
           Check               01/12/2022      ACH            Heritage Credit, LLC      X        -1,796.97         -16,136.60
           Check               01/12/2022      ACH            Jentex Financial, Inc.    X          -513.28         -16,649.88
           Check               01/13/2022      aCH            Jentex Financial, Inc.    X        -1,156.82         -17,806.70
           Check               01/13/2022      aCH            Jentex Financial, Inc.    X        -1,145.30         -18,952.00
           Check               01/13/2022      ACH            Jentex Financial, Inc.    X          -968.21         -19,920.21
           Check               01/13/2022      ACH            Jentex Financial, Inc.    X          -478.19         -20,398.40
           Check               01/13/2022      aCH            Jentex Financial, Inc.    X          -339.37         -20,737.77
           Check               01/13/2022      aCH            Anson Financial, Inc.     X          -250.00         -20,987.77
           Check               01/14/2022      aCH            Jentex Financial, Inc.    X          -582.90         -21,570.67
           Check               01/21/2022      ACH            Jentex Financial, Inc.    X          -337.74         -21,908.41
           Check               01/26/2022      ACH            Jentex Financial, Inc.    X          -643.37         -22,551.78
           Check               01/27/2022      ACH            Jentex Financial, Inc.    X          -559.45         -23,111.23
           Check               01/31/2022      ACH            York Family Limited ...   X        -5,000.00         -28,111.23
           Check               01/31/2022      ACH            Leroy York                X        -1,000.00         -29,111.23
           Check               01/31/2022      ACH            Carol Godbey              X          -150.00         -29,261.23

                      Total Checks and Payments                                                 -29,261.23         -29,261.23

                      Deposits and Credits - 4 items
           Deposit                01/05/2022                                            X        10,000.00         10,000.00
           Deposit                01/06/2022                                            X        21,613.53         31,613.53
           Deposit                01/21/2022                                            X        10,000.00         41,613.53
           Deposit                01/29/2022                                            X        10,695.84         52,309.37

                      Total Deposits and Credits                                                 52,309.37         52,309.37

                Total Cleared Transactions                                                       23,048.14         23,048.14

           Cleared Balance                                                                       23,048.14         28,084.24

           Register Balance as of 01/31/2022                                                     23,048.14         28,084.24

           Ending Balance                                                                        23,048.14         28,084.24




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                                     JPMorgan Chase Bank, N.A.
                                     P O Box 182051                                      Account Number:
                                     Columbus, OH 43218 - 2051




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                                                                                                                      January 01, 2022 through January 31, 2022
                                                                                                                      Account Number:


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                    IN CASE OF ERRORS OR QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS: Call us at 1-866-564-2262 or write us at the
                    address on the front of this statement (non-personal accounts contact Customer Service) immediately if you think your statement or receipt is
                    incorrect or if you need more information about a transfer listed on the statement or receipt.
                    For personal accounts only: We must hear from you no later than 60 days after we sent you the FIRST statement on which the problem or error
                    appeared. Be prepared to give us the following information:
                                    Your name and account number
                                    The dollar amount of the suspected error
                                    A description of the error or transfer you are unsure of, why you believe it is an error, or why you need more information.
                    We will investigate your complaint and will correct any error promptly. If we take more than 10 business days (or 20 business days for new
                    accounts) to do this, we will credit your account for the amount you think is in error so that you will have use of the money during the time it takes
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                    Account Rules and Regulations or other applicable account agreement that governs your account. Deposit products and services are offered by
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3:45 PM                                        Anson Financial, Inc. dba AFI Mortgage
02/07/22                                               Reconciliation Detail
                                       Chase Payroll Account - 6035, Period Ending 01/31/2022

                     Type               Date          Num            Name              Clr       Amount            Balance
           Beginning Balance                                                                                             231.92
                Cleared Transactions
                   Checks and Payments - 2 items
           Check               01/20/2022      ACH          Intuit Payroll              X             -194.72           -194.72
           Check               01/20/2022      ACH          Intuit Payroll              X              -65.03           -259.75

                      Total Checks and Payments                                                       -259.75           -259.75

                      Deposits and Credits - 1 item
           Deposit                01/20/2022                                            X              100.00            100.00

                      Total Deposits and Credits                                                       100.00            100.00

                Total Cleared Transactions                                                            -159.75           -159.75

           Cleared Balance                                                                            -159.75                72.17

           Register Balance as of 01/31/2022                                                          -159.75                72.17

           Ending Balance                                                                             -159.75                72.17




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4:50 PM                            Anson Financial, Inc. dba AFI Mortgage
02/16/22                                             Profit & Loss
Cash Basis                                            January 2022

                                                                                      Jan 22
                 Ordinary Income/Expense
                      Income
                         Earned Discount                                                           445.30
                         Interest Income                                                        22,189.80

                      Total Income                                                              22,635.10

                   Gross Profit                                                                 22,635.10

                      Expense
                        Bad Debt Expense                                                       243,258.68
                        Interest Expense
                           Arvella Godbey Interest Exp                                    78.27
                           Carol Godbey Interest Exp                                     111.91
                           G. Parker Eldridge Interest Exp                               146.14
                           Heritage Credit, LLC                                        6,795.81
                           Jentex Interest Exp                                         8,001.35
                           Leroy York Interest Exp                                       285.96

                            Total Interest Expense                                              15,419.44

                            Management Fees                                                      2,940.00
                            Payroll Expenses                                                       259.75
                            Professional Fees                                                   25,000.00

                      Total Expense                                                            286,877.87

                 Net Ordinary Income                                                       -264,242.77

               Net Income                                                                  -264,242.77




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4:52 PM                          Anson Financial, Inc. dba AFI Mortgage
02/16/22                                            Balance Sheet
Cash Basis                                       As of January 31, 2022

                                                                                Jan 31, 22
               ASSETS
                 Current Assets
                   Checking/Savings
                      Bank Accounts
                         Chase DIP 2251                                                28,084.24
                         Chase Payroll Account - 6035                                      72.17
                         First Bank & Trust-5829                                       12,738.33
                         Wells Fargo - 5257                                            10,767.70

                       Total Bank Accounts                                                     51,662.44

                    Total Checking/Savings                                                     51,662.44

                    Other Current Assets
                      AFI Management Receivable                                               121,435.91
                      Other Current Assets
                         Cash Bond 67th Ct                                              4,104.10

                       Total Other Current Assets                                                  4,104.10

                    Total Other Current Assets                                                125,540.01

                 Total Current Assets                                                         177,202.45

                 Other Assets
                   Mortgages Receivables
                      Accrued Interest                                                126,091.64
                      Notes Receivables                                             3,417,431.00
                      Unearned Discount                                              -104,329.95
                      Mortgages Receivables - Other                                   -99,657.31

                    Total Mortgages Receivables                                              3,339,535.38

                    Other Investments
                      62 Main Street, LLC                                            836,404.78
                      AFI Technology, Inc.                                            92,075.17
                      AFM Investments, LLC                                           137,506.58
                      AFM Techology, LLC                                              67,309.34
                      All American Royalties, Inc.                                   573,128.98
                      Alvord 287 JV                                                  367,064.56
                      MBH Real Estate, LLC                                           100,972.00

                    Total Other Investments                                                  2,174,461.41

                 Total Other Assets                                                          5,513,996.79

               TOTAL ASSETS                                                                  5,691,199.24

               LIABILITIES & EQUITY
                  Liabilities
                     Current Liabilities
                        Other Current Liabilities
                            Other Current Liabilities
                              B Frazier Management, Inc.                              28,714.56
                              Ghrist 67th District Judgment                          167,920.77
                              Ghrist_67th Sanction Order                              11,675.00

                          Total Other Current Liabilities                                     208,310.33

                       Total Other Current Liabilities                                        208,310.33

                    Total Current Liabilities                                                 208,310.33




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4:52 PM                              Anson Financial, Inc. dba AFI Mortgage
02/16/22                                           Balance Sheet
Cash Basis                                        As of January 31, 2022

                                                                                Jan 31, 22
                    Long Term Liabilities
                      Investors Payable
                         Secured
                           Arvella, Godbey                                    11,042.47
                           Heritage Credit-2202 Chapel                        64,668.90
                           Heritage Credit-225 W Lorino                       61,915.93
                           Heritage Credit-3308 Mansfield                     95,268.46
                           Heritage Credit-Barron Weaver                      30,721.55
                           Jentex - 1017 8th Ave                             105,512.02
                           Jentex - 124 CR 635                                57,855.93
                           Jentex - 1248 E Allen                              34,399.06
                           Jentex - 1411 Joplin                               40,368.42
                           Jentex - 1617 Clinton                             110,681.68
                           Jentex - 174 PR 4732                               75,657.98
                           Jentex - 2 Notes                                   44,457.53
                           Jentex - 2008 Ridgeway                             46,712.85
                           Jentex - 211 Colonial                              40,680.02
                           Jentex - 2132 Christin                             27,988.37
                           Jentex - 2505 NE 31st                              41,125.14
                           Jentex - 2659 Quinn                                19,098.24
                           Jentex - 2720 Quinn                                30,003.25
                           Jentex - 2801 Burton                               39,627.09
                           Jentex - 4245 Lorin                                40,130.83
                           Jentex - 4416 Village                              33,778.46
                           Jentex - 4900 Hillside                             37,003.61
                           Jentex - 531 Partrid                               81,936.86
                           Jentex - 6712 Plantati                             30,845.24
                           Jentex - 700 Springe                              111,702.62
                           Jentex - 770 PR 4732                               28,702.67
                           Jentex - 817 E Devitt                              33,319.96
                           Jentex - 8501 Pembert                              14,006.83
                           Jentex - 9662 5425 Waltham                          5,727.40
                           Lonesome Dove Holdings                            164,560.57
                           S&F Funding - Deed of Trust                       799,636.87
                           SBA-EIDL                                          154,202.54
                           York Family Partnership                         2,738,893.31

                          Total Secured                                             5,252,232.66

                          Unsecured
                            Carol Godbey                                     16,748.79
                            Eldridge G. Parker                               17,432.96
                            Leroy York                                       42,179.24

                          Total Unsecured                                                 76,360.99

                       Total Investors Payable                                                  5,328,593.65

                    Total Long Term Liabilities                                                 5,328,593.65

                 Total Liabilities                                                              5,536,903.98

                 Equity
                   Capital Stock                                                                  612,916.17
                   Opening Balance Equity                                                          35,773.38
                   Retained Earnings                                                             -230,151.52
                   Net Income                                                                    -264,242.77

                 Total Equity                                                                    154,295.26

               TOTAL LIABILITIES & EQUITY                                                       5,691,199.24




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4:52 PM                           Anson Financial, Inc. dba AFI Mortgage
02/16/22                                             Balance Sheet
Accrual Basis                                     As of January 31, 2022

                                                                               Jan 31, 22
                ASSETS
                  Current Assets
                    Checking/Savings
                       Bank Accounts
                          Chase DIP 2251                                              28,084.24
                          Chase Payroll Account - 6035                                    72.17
                          First Bank & Trust-5829                                     12,738.33
                          Wells Fargo - 5257                                          10,767.70

                        Total Bank Accounts                                                   51,662.44

                     Total Checking/Savings                                                   51,662.44

                     Other Current Assets
                       AFI Management Receivable                                             121,435.91
                       Other Current Assets
                          Cash Bond 67th Ct                                            4,104.10

                        Total Other Current Assets                                                4,104.10

                     Total Other Current Assets                                              125,540.01

                  Total Current Assets                                                       177,202.45

                  Other Assets
                    Mortgages Receivables
                       Accrued Interest                                              126,091.64
                       Notes Receivables                                           3,417,431.00
                       Unearned Discount                                            -104,329.95
                       Mortgages Receivables - Other                                 -99,657.31

                     Total Mortgages Receivables                                            3,339,535.38

                     Other Investments
                       62 Main Street, LLC                                          836,404.78
                       AFI Technology, Inc.                                          92,075.17
                       AFM Investments, LLC                                         137,506.58
                       AFM Techology, LLC                                            67,309.34
                       All American Royalties, Inc.                                 573,128.98
                       Alvord 287 JV                                                367,064.56
                       MBH Real Estate, LLC                                         100,972.00

                     Total Other Investments                                                2,174,461.41

                  Total Other Assets                                                        5,513,996.79

                TOTAL ASSETS                                                                5,691,199.24

                LIABILITIES & EQUITY
                   Liabilities
                      Current Liabilities
                         Accounts Payable
                             Accounts Payable                                                 45,500.00

                        Total Accounts Payable                                                45,500.00

                        Other Current Liabilities
                          Other Current Liabilities
                             B Frazier Management, Inc.                              28,714.56
                             Ghrist 67th District Judgment                          167,920.77
                             Ghrist_67th Sanction Order                              11,675.00

                           Total Other Current Liabilities                                   208,310.33

                        Total Other Current Liabilities                                      208,310.33

                     Total Current Liabilities                                               253,810.33




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4:52 PM                               Anson Financial, Inc. dba AFI Mortgage
02/16/22                                            Balance Sheet
Accrual Basis                                      As of January 31, 2022

                                                                                 Jan 31, 22
                     Long Term Liabilities
                       Investors Payable
                          Secured
                            Arvella, Godbey                                    11,042.47
                            Heritage Credit-2202 Chapel                        64,668.90
                            Heritage Credit-225 W Lorino                       61,915.93
                            Heritage Credit-3308 Mansfield                     95,268.46
                            Heritage Credit-Barron Weaver                      30,721.55
                            Jentex - 1017 8th Ave                             105,512.02
                            Jentex - 124 CR 635                                57,855.93
                            Jentex - 1248 E Allen                              34,399.06
                            Jentex - 1411 Joplin                               40,368.42
                            Jentex - 1617 Clinton                             110,681.68
                            Jentex - 174 PR 4732                               75,657.98
                            Jentex - 2 Notes                                   44,457.53
                            Jentex - 2008 Ridgeway                             46,712.85
                            Jentex - 211 Colonial                              40,680.02
                            Jentex - 2132 Christin                             27,988.37
                            Jentex - 2505 NE 31st                              41,125.14
                            Jentex - 2659 Quinn                                19,098.24
                            Jentex - 2720 Quinn                                30,003.25
                            Jentex - 2801 Burton                               39,627.09
                            Jentex - 4245 Lorin                                40,130.83
                            Jentex - 4416 Village                              33,778.46
                            Jentex - 4900 Hillside                             37,003.61
                            Jentex - 531 Partrid                               81,936.86
                            Jentex - 6712 Plantati                             30,845.24
                            Jentex - 700 Springe                              111,702.62
                            Jentex - 770 PR 4732                               28,702.67
                            Jentex - 817 E Devitt                              33,319.96
                            Jentex - 8501 Pembert                              14,006.83
                            Jentex - 9662 5425 Waltham                          5,727.40
                            Lonesome Dove Holdings                            164,560.57
                            S&F Funding - Deed of Trust                       799,636.87
                            SBA-EIDL                                          154,202.54
                            York Family Partnership                         2,738,893.31

                           Total Secured                                             5,252,232.66

                           Unsecured
                             Carol Godbey                                     16,748.79
                             Eldridge G. Parker                               17,432.96
                             Leroy York                                       42,179.24

                           Total Unsecured                                                 76,360.99

                        Total Investors Payable                                                  5,328,593.65

                     Total Long Term Liabilities                                                 5,328,593.65

                  Total Liabilities                                                              5,582,403.98

                  Equity
                    Capital Stock                                                                  612,916.17
                    Opening Balance Equity                                                          35,773.38
                    Retained Earnings                                                             -275,651.52
                    Net Income                                                                    -264,242.77

                  Total Equity                                                                    108,795.26

                TOTAL LIABILITIES & EQUITY                                                       5,691,199.24




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4:51 PM                             Anson Financial, Inc. dba AFI Mortgage
02/16/22                                              Profit & Loss
Accrual Basis                                          January 2022

                                                                                       Jan 22
                  Ordinary Income/Expense
                       Income
                          Earned Discount                                                           445.30
                          Interest Income                                                        22,189.80

                       Total Income                                                              22,635.10

                    Gross Profit                                                                 22,635.10

                       Expense
                         Bad Debt Expense                                                       243,258.68
                         Interest Expense
                            Arvella Godbey Interest Exp                                    78.27
                            Carol Godbey Interest Exp                                     111.91
                            G. Parker Eldridge Interest Exp                               146.14
                            Heritage Credit, LLC                                        6,795.81
                            Jentex Interest Exp                                         8,001.35
                            Leroy York Interest Exp                                       285.96

                             Total Interest Expense                                              15,419.44

                             Management Fees                                                      2,940.00
                             Payroll Expenses                                                       259.75
                             Professional Fees                                                   25,000.00

                       Total Expense                                                            286,877.87

                  Net Ordinary Income                                                       -264,242.77

                Net Income                                                                  -264,242.77




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